8 Cdse 2:07-mj-02131-DUTY Document 1 Filed 12/13/07 Page 1 of 6 ORI IGINAL

 

 

 

 

 

 

 

 

  

 

CRIMINAL COMPLAINT
. FILED
UNITED STATES DISTRICT COURT CENTRAL DtGPRIET OF MAL
UNITED STATES OF AMERICA DOCKET NO.
Vv. DEC p> SM
TRACII LYNNE VICIAN MAGISTRATE'S CA$BSS08/ APE CALIFORN'” |
aka “Tracii Lynne Show Vician,” O'7 ws 6)

 

 

 

Complaint for a violation of Title 18, United States Code § 1542: False Statements in Application of a United States
Passport

 

 

 

NAME OF MAGISTRATE JUDGE UNITED STATES LOCATION
MAGISTRATE JUDGE

HON. CAROLYN TURCHIN Los Angeles, CA

DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)

March 13, 2007 Los Angeles County

 

 

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION :

On or about March 13, 2007, in Los Angeles County, within the Central District of California, defendant
TRACII LYNNE VICIAN, also known as “Tracii Lynne Show Vician,’ willfully and knowingly made a false
statement in obtaining a United States passport, contrary to the laws regulating the issuance of such passports and
the rules prescribed pursuant to such laws, in violation of Title 18, United States Code, Section 1542, False
Statements in Application of a United States Passport.

% .
gil te

co 23

c “S,, |
a “3

~
O =

 

Bais OF COMPBAINAN oe AGAINST THE ACCUSED:

GA attached affidavit which 1 is: sincorporated as part of this Complaint)

 

©
MATERJAL WITNESSES IN RELATION TO THIS CHARGE
S : ~

 

 

 

=
on
Being duly sworn, I declare that the SIGNATURE OF COMPLAINANT
foregoing is true and correct to the
best of my knowledge. SHANE L. DIXON ;
OFFICIAL TITLE
Special Agent - DSS

 

 

Sworn to before me and subscribed in my presence,

 

 

SIGNATURE OF “Tih TYDGE() DATE
J diab December 13, 2007

 

 

 

1) See Federal Rules of Criminal a tules 3 and 54.

AUSA: JEFF P. MITCHELL REC: Detention

A
Cdse 2:07-mj-02131-DUTY Document1 Filed 12/13/07 Page 2 o0f6 Page ID #:2

AFFIDAVIT

I, Shane L. Dixon, being duly sworn, hereby depose and
say:

1, I am a Special Agent (SA) with the U.S. Department
of State, Diplomatic Security Service (DSS), assigned to the
Los Angeles Field Office. My primary responsibilities
include the investigation of criminal violations of the laws
governing the issuance of passports and visas. I have
investigated violations involving the false application for
and misuse of U.S. passports.

2. This affidavit is made in support of a criminal
complaint against and an arrest warrant for TRACII LYNNE
VICIAN (“VICIAN”), also known as “Tracii Lynne Show Vician,”
charging her with a violation of Title 18, United States
Code, Section 1542, False Statements Made in Passport
Application. The facts set forth in this affidavit are
based upon my personal observations, my training and
experience, and information obtained from other law
enforcement agents and witnesses. This affidavit is
intended to show that there is probable cause for the
requested complaint and arrest warrant and does not purport
to set forth all my knowledge of, or investigation into,
this matter.

3. On or about October 25, 2007, Detective P. Sanzone
Cdse 2:07-mj-02131-DUTY Document1 Filed 12/13/07 Page 3of6 Page ID #:3

of the Los Angeles County Sheriff's Office informed me of
the following:

a. VICIAN had obtained a United States passport
by claiming that her previous passport was lost.

b. VICIAN’s initial passport had not been lost,
but had been seized on February 21, 2007, pursuant toa
search warrant related to a state investigation of VICIAN
for embezzlement/grand theft of over $500,000.

Cc. On February 21, 2007, Detective Sanzone
personally informed VICIAN that he was seizing her passport,
and he showed VICIAN a copy of the seized property receipt.
Detective Sanzone also left a copy of the seized property
receipt at VICIAN’s home.

4, On October 25, 2007, I reviewed a DS-11,
application for a United States passport, number 039698812,
in the name of “Tracii Lynne Vician,” and determined from my
review that:

a. On March 13, 2007, passport application
number 039698812, was executed in the name of “Tracii Lynne
Vician,” at the Los Angeles Passport Agency, by a person
authorized to accept passport applications.

b. Passport application number 039698812

contains the following information:
Case 2:07-mj-02131-DUTY Document1 Filed 12/13/07 Page 4of6 Page ID #:4

(1) “Tracii Lynne Vician” was previously
issued a United States passport on July
9, 2004, and indicated that it was lost.

(2) As proof of identity, the applicant
presented a California driver’s license,
number C4859861 in the name of “Tracii
Lynne Show Vician.”

Cc. The person presenting the passport
application executed the form under oath before the person
authorized to accept the application, with a signature in
the name “Tracii Lynne Vician” beneath the following jurat:
“I declare under penalty of perjury that the statements made
on this application are true and correct.”

d. As proof of the applicant’s United States
citizenship, the applicant requested a file search for the
issuance of a prior passport.

e. The person presenting the passport
application also submitted a Statement Regarding Lost or
Stolen Passport (Form DSP-64). In the Statement Regarding
Lost or Stolen Passport, the applicant stated that the loss
or theft of the passport occurred on the following date and
explained what efforts she made to recover it: “At home ~

2/20 or 2/21. Looked everywhere possible & need to travel.”
Case 2:07-mj-02131-DUTY Document1 Filed 12/13/07 Page5of6 Page ID#:5

£. The applicant signed the Statement Regarding
a Lost or Stolen Passport in the box indicating that
everything she had written was correct and complete under
penalty of perjury.
5. Based on the above information, a United States
Passport, number 421948638, was issued on March 13, 2007.
6. On October 25, 2007, I conducted record checks in
the Treasury Enforcement Communication System and discovered
that VICIAN presented United States passport, number
421948638 on four occasions while traveling between Los
Angeles, California and Tokyo, Japan.
(1) Departed Los Angeles, California on
April 1, 2007, to Tokyo, Japan.
(2) Departed Tokyo, Japan on April 7, 2007,
to Los Angeles, California.
(3) Departed Los Angeles, California, on
June 25, 2007, to Tokyo, Japan.
(4) Departed Tokyo, Japan, on June 30, 2007,
to Los Angeles, California.
//
//
//
//
. Case 2:07-mj-02131-DUTY Document1 Filed 12/13/07 Page 6of6 Page ID #:6

7. Based on the foregoing facts, there is probable

cause to believe that TRACII LYNNE SHOW VICIAN has violated

Title 18, United States Code, Section 1542, False Statements

Made in Passport Application.

Shane L. Dixon

Special Agent

Diplomatic Security Service
U.S. Dept of State

Los Angeles, California

Subscribed and sworn to before me

This 14 day of December 2007.

(iwl.ns Nu Ue

UNITED ST#TES ‘MAGISTRATE JUDGE
